EXHIBIT 5
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       10/18/2019



                        date of birth             , Social Security Number
              telephone number              was interviewed at her address of
                   Hampton, Virginia      . After being advised of the identity of
        the interviewing Agents and the nature of the interview,        provided the
        following information:

                  knew of                and knew that her daughter
                 used to date                    was aware that
        were skinheads and that Chris HASSON used to run around with them.

                  recalled the night of the assault where
        assaulted her husband.        and her husband were at a party while her
        kids, including          stayed at home.        and her husband returned
        home at about 11:30 PM.        noticed a van pull up to their residence.
                        and HASSON were in the van with            girlfriend.
                        and HASSON wanted to see                  , in which
        was not at the residence. This then lead to a confrontation with
        husband who wanted everyone to leave. At some point,       produced a pistol
        and pistol whipped          husband.

                  was yelling for everyone to leave and recalled HASSON getting back
        into the van while saying "yes ma'am." HASSON listened to        when he was
        told to leave. HASSON or          came back into the yard and helped drag
              back to the vehicle.

                  believed that      lived on              that was close to
                 residence.        also believed that      was still a skinhead and
        that he parked his semi truck in the front yard of his residence.

                  stated that her daughter                                                        lived at                                            in
        Hampton, and her phone number was                                                           .




   Investigation on    10/10/2019           at   Hampton, Virginia, United States (In Person)

   File #                                                                                                                    Date drafted    10/15/2019

   by

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